                  Case 19-50269-JTD   Doc 6   Filed 06/11/19      Page 1 of 25

                                                  Hearing Date: August 27, 2019 at 2:00 p.m. (ET)
                                                 Objection Deadline: July 8, 2019 at 4:00 p.m. (ET)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------- X
GSCP VI EDGEMARC HOLDINGS, L.L.C.,      :
GSCP VI PARALLEL EDGEMARC HOLDINGS,     :
L.L.C., WSEP AND BRIDGE 2012 EDGEMARC   :
HOLDINGS, L.L.C., AND EM HOLDCO LLC,    :
                                        :
                Plaintiffs,             : Adv. Proc. No. 19-01293 (JLG)
                                        :
     vs.                                :
                                        :
ETC NORTHEAST PIPELINE, LLC,            :
                                        :
                Defendant.              :
                                        :
--------------------------------------- X


  MEMORANDUM OF LAW IN SUPPORT OF ETC NORTHEAST PIPELINE, LLC’S
   MOTION TO TRANSFER THE ACTION TO THE DISTRICT OF DELAWARE
         PURSUANT TO 28 U.S.C. § 1412 AND/OR 28 U.S.C. § 1404(a)


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DOCS_NY:39229.1
                     Case 19-50269-JTD                    Doc 6           Filed 06/11/19           Page 2 of 25



                                                   TABLE OF CONTENTS

                                                                                                                                   PAGE



PRELIMINARY STATEMENT .................................................................................................... 1

STATEMENT OF RELEVANT FACTS ....................................................................................... 1

          A.         The Force Majeure Event........................................................................................ 3

          B.         The Pennsylvania State Court Complaint Against Debtor, EM Energy (PA) ........ 4

          C.         The Equity Owners’ New York State Court Complaint Against ETC ................... 5

          D.         The Delaware Bankruptcy Cases ............................................................................ 7

ARGUMENT .................................................................................................................................. 9

I.       Transfer of the New York State Court Action to the Delaware Bankruptcy Court is
         Warranted Under 28 U.S.C. § 1412 ..................................................................................... 9

          A.         The Interests of Justice Mandate Transfer ............................................................ 11

                     (1)             Transfer Promotes Economic and Efficient Administration of
                                     the Bankruptcy Estates ........................................................................ 11

                     (2)             Transfer Avoids the Risk of Duplicative Litigation and
                                     Inconsistent Results ............................................................................ 13

                     (3)             The Parties Will Receive a Fair Trial in Either Court, but
                                     Equity Owners Choice of Forum Should Not Be Accorded
                                     Deference ............................................................................................ 14

                     (4)             The Delaware Bankruptcy Court Has an Interest in
                                     Determining the Subject Controversy................................................. 14

                     (5)             Transfer Will Not Affect Any Judgment ............................................ 15

                     (6)             The Plaintiff’s Original Choice of Forum Should Be Disturbed ........ 15

          B.         The Convenience of the Parties Favors Transfer .................................................. 16

                     (7)             The Location of Plaintiff and Defendant Has Little Bearing on
                                     Convenience for Both Parties ............................................................. 16

                     (8)             Necessary Proof if Easily Accessible in the Delaware
                                     Bankruptcy Court ................................................................................ 17


                                                                      i
DOCS_NY:39229.1
                     Case 19-50269-JTD                   Doc 6           Filed 06/11/19          Page 3 of 25



                     (9)             The Convenience of the Witnesses and the Parties Favors
                                     Transfer to the Delaware Bankruptcy Court ....................................... 17

                     (10) - (11) The Subpoena Power and Expense of Obtaining Unwilling
                                 Witnesses Are No Greater in Either Forum ........................................ 17

II.      Alternatively, Transfer of the New York State Court Action to the Delaware Bankruptcy
         Court is Warranted Under 28 U.S.C. § 1404(a) ................................................................. 18

CONCLUSION ............................................................................................................................. 19




                                                                    ii
DOCS_NY:39229.1
                      Case 19-50269-JTD                     Doc 6             Filed 06/11/19          Page 4 of 25



                                                  TABLE OF AUTHORITIES

                                                                                                                                        PAGE

Cases

Adelphia Recovery Trust v. Bank of Am., N.A.,
   No. 05 Civ. 9050 (LMM), 2009 U.S. Dist. LEXIS 39373 (S.D.N.Y. Mar. 5,
   2009) ........................................................................................................................................11

APA Excelsior III L.P. v. Premiere Techs., Inc.,
  49 F. Supp. 2d 664 (S.D.N.Y. 1999)..................................................................................13, 14

Burns v. Grupo Mex. S.A. de C.V.,
   No. 07 Civ. 3496 (WHP), 2007 U.S. Dist. LEXIS 84514 (S.D.N.Y. Nov. 16,
   2007) ............................................................................................................................12, 13, 17

Dahl v. HEM Pharm. Corp.,
   867 F. Supp. 194 (S.D.N.Y. 1994) ..........................................................................................12

Enron Corp. v. Arora (In re Enron Corp.),
   317 B.R. 629 ............................................................................................................................16

Enron Corp. v. Dynegy Inc. (In re Enron Corp.),
   No. 01-16034 (AJG), 2002 WL 32153911 (Bankr. S.D.N.Y. Apr. 12, 2002)...................11, 16

ETC Northeast Pipeline, LLC, v. EM Energy Pennsylvania, LLC,
  Case No. 19-002052......................................................................................................... passim

Forjone v. California,
   425 Fed. Appx. 73 (2d Cir. 2011) ............................................................................................18

Fteja v. Facebook, Inc.,
    841 F. Supp. 2d 829 (SDNY 2012)..........................................................................................19

Hart v. Bello,
   No. 11 Civ. 67 (RMB), 2011 U.S. Dist. LEXIS 45471 (S.D.N.Y. Apr. 27,
   2011) ..................................................................................................................................10, 14

ICICI Bank Ltd.v. Essar Glob. Fund Ltd.,
   565 B.R. 241 (S.D.N.Y. 2017) .................................................................................................18

In re Iridium Operating LLC,
    285 B.R. 822 (S.D.N.Y. 2002) .............................................................................................9, 10

In re Manville Forest Prods.,
    896 F.2d at 1391 ................................................................................................................10, 12



                                                                        iii
DOCS_NY:39229.1
                      Case 19-50269-JTD                    Doc 6           Filed 06/11/19           Page 5 of 25



Iragorri v. United Techs. Corp.,
    274 F.3d 65 (2d Cir. 2001) (en banc).......................................................................................15

Nat’l Union Fire Ins. Co. of Pittsburgh, Pa. v. Turtur,
   743 F. Supp. 260 (S.D.N.Y. 1990) ..........................................................................................14

Official Comm. of Asbestos Claimants of G–I Holding, Inc. v. Heyman,
    306 B.R. 746 (S.D.N.Y. 2004) .................................................................................................18

Renaissance Cosmetics, Inc. v. Dev. Specialists Inc.,
   277 B.R. 5 (S.D.N.Y. 2002) .........................................................................................11, 15, 16

Wyndham Assocs. v. Bintliff,
  398 F.2d 614 (2d Cir. 1968)...............................................................................................10, 13

Statutes

11 U.S.C. § 365 ..............................................................................................................................10

28 U.S.C. § 157 ..............................................................................................................................19

28 U.S.C. § 157(b)(1) ......................................................................................................................9

28 U.S.C. § 157(b)(2) ......................................................................................................................9

28 U.S.C. § 1334(b) .......................................................................................................................18

28 U.S.C. § 1404(a) .........................................................................................................1, 9, 18, 20

28 U.S.C. § 1409(a) .......................................................................................................................18

28 U.S.C. § 1412 .................................................................................................................... passim




                                                                      iv
DOCS_NY:39229.1
                   Case 19-50269-JTD             Doc 6       Filed 06/11/19         Page 6 of 25



                                      PRELIMINARY STATEMENT

           This is a removed state court derivative action that was brought by equity owners in now-

bankrupt EdgeMarc Energy Holdings, LLC (“EdgeMarc”), on the eve of EdgeMarc’s then-

imminent bankruptcy filing, asserting claims that are based on alleged harm to EdgeMarc and

that now belong to the EdgeMarc bankruptcy estate.                        The three-count complaint against

midstream provider ETC Northeast Pipeline, LLC alleges breach of contract, unjust enrichment,

and negligent misrepresentation. Even assuming, arguendo, that the claims have merit, the

claims are property of the EdgeMarc estate and, furthermore, raise numerous issues that are

within the core jurisdiction of EdgeMarc’s bankruptcy court (the “Delaware Bankruptcy Court”);

still further, they are overlapping of litigation already pending in state court in Pennsylvania

(now removed to the District Court for the Western District of Pennsylvania). All of this

litigation should be transferred to the Delaware Bankruptcy Court in the interest of justice and

for the convenience of the parties under 28 U.S.C. § 1412 or 1404(a).

                                 STATEMENT OF RELEVANT FACTS1

           EM Energy Pennsylvania, LLC (“EM Energy (PA)”), a subsidiary of upstream oil and

gas company EdgeMarc Energy Holdings, LLC (“EdgeMarc”), entered into a gathering and

processing agreement (the “Base Agreement”) with ETC Northeast Pipeline, LLC (“ETC”), an

indirect subsidiary of Energy Transfer, LP, one of America’s largest and most diversified

midstream energy companies, on November 13, 2017.2 Pursuant to the Base Agreement, ETC




1
  Docket entries in this case (e.g., [Dkt. 1] references docket entry 1); to the Declaration of Beth E. Levine attesting
to filings in the Delaware Bankruptcy Court (e.g., [BKC Dec. Ex. A] references Exhibit A to the Beth E. Levine
Declaration); and to the Declaration of Gregory P. Graham attesting to filings in the Pennsylvania State Court
Action (e.g., [PA Dec. Ex. A] references Exhibit A to the Gregory P. Graham Declaration).
2
    See New York Complaint [Dkt. 1, Ex. A, ¶ 40]; Pennsylvania Complaint [PA Dec. Ex. A, ¶ 19].



DOCS_NY:39229.1
                   Case 19-50269-JTD             Doc 6        Filed 06/11/19     Page 7 of 25



agreed to “accept or cause to be accepted on a Firm basis those daily quantities of [EM Energy

(PA)’s] Gas as set forth in any Individual Transaction Confirmation.”3

           At the same time that EM Energy (PA) and ETC entered into the Base Agreement, the

parties also executed two Amended and Restated Individual Transaction Confirmations

(individually, “ITC 101” and “ITC 102” and collectively, the “ITCs”).4 The ITCs, inter alia, (i)

confirmed transactions “for the gathering and processing of Gas or provision of other services to

be performed” under the Base Agreement; and (ii) established the “gathering and processing

fee(s) . . . for the quantities of Gas . . . gathered and processed” under the Base Agreement.5

Together, the Base Agreement and the ITCs constitute a single integrated agreement (the

“Gathering and Processing Agreement”).6

           The Gathering and Processing Agreement required ETC to place specific based pipeline

and gathering facilities identified in ITC 101 (the “Revolution System”) in commercial service

by January 1, 2019.7 The Revolution System “enabled the Debtors to gather, process, and—

ultimately—sell, gas from several newly drilled wells in Pennsylvania.”8 ETC completed

primary construction of the Revolution System in the spring of 2018, and the Revolution System

was mechanically complete and ready to be placed in commercial service on or about June 1,

2018.9 In an act of good faith and in the spirit of accommodation, ETC deferred its contractual

right to significant sums under the agreements and instead waited until EM Energy (PA)


3
    See Pennsylvania Complaint [PA Dec. Ex. A, ¶ 23].
4
    See New York Complaint [Dkt. 1, Ex. A, ¶ 40]; Pennsylvania Complaint [PA Dec. Ex. A, ¶ 25].
5
    See Pennsylvania Complaint [PA Dec. Ex. A, ¶¶ 21-22].
6
    See New York Complaint [Dkt. 1, Ex. A, ¶ 40]; Pennsylvania Complaint [PA Dec. Ex. A, ¶ 24].
7
 See New York Complaint [Dkt. 1, Ex. A, ¶ 45]; Pennsylvania Complaint [PA Dec. Ex. A, ¶ 27]; First Day
Declaration [BKC Dec. Ex. B, ¶ 7].
8
    See New York Complaint [Dkt. 1, Ex. A, ¶ 41]; First Day Declaration [BKC Dec. Ex. B, ¶ 6].
9
    See Pennsylvania Complaint [PA Dec. Ex. A, ¶ 32].



DOCS_NY:39229.1                                           2
                    Case 19-50269-JTD           Doc 6           Filed 06/11/19   Page 8 of 25



affirmed that it was ready to deliver gas, ultimately placing the Revolution System in

commercial service on September 9, 2018.10 Notwithstanding the foregoing, the EM Energy

(PA), EdgeMarc, and Equity Owners now claim that the Revolution Service was never in

commercial service.11

           A.      The Force Majeure Event

           On September 10, 2018, due to factors entirely outside of all parties’ control, a landslide

occurred causing a fire (the “Revolution Event”) along the Revolution System.12 Despite the

Revolution Event, ETC continued to provide gas gathering and processing services, albeit on a

reduced basis.13 ETC incurred significant expense to install a bypass of the affected portion of

the system, allowing EM Energy (PA) to connect into another of its nearby gathering pipelines,

which, in turn, permitted ETC to continue to provide EM Energy (PA) with gathering services to

a third party’s processing facility.14 Therefore, the Revolution Pipeline remained partially

operational, and EM Energy (PA) continued to deliver gas under ITC 101.15 Service under ITC

102 was not affected by the Revolution Event and continued without interruption. 16

           Between September 9, 2018 and January 31, 2019, EM Energy (PA) delivered significant

volumes of gas to ETC on the Revolution System, following the terms of ITC 101 and ITC

102.17 However EM Energy (PA) failed to remit payment due and owing for services rendered


10
     See New York Complaint [Dkt. 1, Ex. A, ¶ 6]; Pennsylvania Complaint [PA Dec. Ex. A, ¶ 32-37].
11
 See New York Complaint [Dkt. 1, Ex. A, ¶¶ 7, 76, and 80]; Pennsylvania Answer, New Matter, and
Counterclaims [PA Dec. Ex. B, ¶ 132]; First Day Declaration [BKC Dec. Ex. A, ¶ 7-10].
12
 See New York Complaint [Dkt. 1, Ex. A, ¶ 62]; Pennsylvania Complaint [PA Dec. Ex. A, ¶ 41]; First Day
Declaration [BKC Dec. Ex. A, ¶ 6].
13
     See Pennsylvania Complaint [PA Dec. Ex. A, ¶ 43-46].
14
     Id.
15
     Id.
16
     Id.
17
     Id.



DOCS_NY:39229.1                                             3
                   Case 19-50269-JTD            Doc 6         Filed 06/11/19   Page 9 of 25



by ETC under ITC 101, from September of 2018 through and including December of 2018. 18 It

was only on January 29, 2019, after months of continued service under the ITCs and its own

acknowledgement of the ITCs enforceability, that EM Energy (PA) wrote ETC alleging that ITC

101 and ITC 102 “shall be and hereby [are] terminated effective January 29, 2019.”19

           Despite its contention that the ITCs are unenforceable, EM Energy (PA) continued to

seek to deliver gas to ETC under the Base Agreement.20 EM Energy (PA) contends that it has

“nominated” to deliver gas under the Base Agreement alone. 21 But the Base Agreement cannot

operate alone, and without an enforceable ITC, ETC has the right to shut off Defendant’s gas

services. 22

           B.      The Pennsylvania State Court Complaint Against Debtor, EM Energy (PA)

           Shortly thereafter, on February 7, 2019, ETC commenced litigation by the filing of a

complaint (the “Pennsylvania Complaint”) against EM Energy (PA), in the Court of Common

Pleas of Allegheny County, Pennsylvania, in a matter styled ETC Northeast Pipeline, LLC, v.

EM Energy Pennsylvania, LLC, Case No. 19-002052 (the “Pennsylvania State Court Action”).23

Through the Pennsylvania Complaint, ETC seeks (i) a declaratory judgment that the Base

Agreement, together with ITCs 101 and 102 are valid and enforceable contracts, and (ii) an

award of damages resulting from EM Energy (PA)’s breach of contract and unjust enrichment.24




18
     See Pennsylvania Complaint [PA Dec. Ex. A, ¶¶ 47-48].
19
 See New York Complaint [Dkt. 1, Ex. A, ¶ 82]; Pennsylvania Complaint [PA Dec. Ex. A, ¶¶ 52-55]; First Day
Declaration [BKC Dec. Ex. A, ¶ 6].
20
     See Pennsylvania Complaint [PA Dec. Ex. A, ¶¶ 56].
21
     See Pennsylvania Complaint [PA Dec. Ex. A, ¶¶ 57].
22
     See Pennsylvania Complaint [PA Dec. Ex. A, ¶¶ 58].
23
     See Pennsylvania Complaint [PA Dec. Ex. A].
24
     Id.



DOCS_NY:39229.1                                           4
                   Case 19-50269-JTD            Doc 6     Filed 06/11/19       Page 10 of 25



            EM Energy (PA) responded to the Pennsylvania Complaint on February 27, 2019, filing

an answer, new matter, and counterclaims.25 In its response, EM Energy (PA) alleges, among

other things, that (i) the Revolution System never was placed in commercial service, (ii) ETC

failed to comply with “pertinent environmental regulations and prudent pipeline construction

guidelines” and (iii) the landslide and resulting explosion to the Revolution System was not a

force majeure event.26

            The filing of the Delaware Bankruptcy Cases has stayed the Pennsylvania State Court

Action and it has been removed to the District Court for the Western District of Pennsylvania. 27

ETC seeks transfer—just as it does here—of that action to the Delaware Bankruptcy Court.

            C.      The Equity Owners’ New York State Court Complaint Against ETC

            On May 14, 2019, GSCP VI EdgeMarc Holdings, L.L.C., GSCP VI Parallel EdgeMarc

Holdings, L.L.C., WSEP and Bridge 2012 EdgeMarc Holdings, L.L.C., and EM Holdco LLC

(collectively, the “Equity Owners”)28, filed a three count complaint against ETC (the “New York

Complaint”) in the Supreme Court of the State of New York, County of New York, Index No.

652906/2019 (the “New York State Court Action”).29

            The New York Complaint alleges that the Equity Owners have invested approximately

$850 million in EdgeMarc, and that ETC committed to construct a pipeline system that would

allow EdgeMarc to bring its product, natural gas, to market.30 The New York Complaint further

alleges that EdgeMarc’s natural gas is now “trapped in wells and not flowing to purchasers”, that

25
     See Pennsylvania Answer, New Matter, Counterclaims [PA Dec. Ex. B].
26
     Id.
27
     See Pennsylvania Notice of Stay and Amended Notice of Filing of Notice of Removal [PA Dec. Ex. F-G].
28
 The Equity Owners purportedly currently own approximately 99% of the equity in EdgeMarc. See New York
Complaint [Dkt. 1, Ex. A, ¶ 20].
29
     See New York Complaint [Dkt. 1, Ex. A].
30
     Id. at 1.



DOCS_NY:39229.1                                          5
                       Case 19-50269-JTD       Doc 6    Filed 06/11/19    Page 11 of 25



ETC is at fault, and that Equity Owners “have thus suffered hundreds of millions of dollars in

losses and may lose their entire investment” in EdgeMarc.31 The crux of the claims encompassed

by the New York Complaint hinge on the Equity Owner’s allegations that the Revolution System

was not in commercial service prior to January 1, 2019, and that the landslide that damaged the

Revolution System was not a force majeure event.

            Notably, the New York Complaint pleads damages based upon alleged breaches by ETC

of the Gathering and Processing Agreement (i.e. the Base Agreement and the ITCs) entered into

by and between EM Energy (PA) and ETC. Importantly, the Equity Owners are not party to the

Base Agreement and ITCs.32 The New York Complaint seeks adjudication of, among other

things, ETC’s compliance with the terms of its respective agreements with EM Energy (PA),

namely whether ETC constructed the Revolution System pipeline according to required

standards.33 Accordingly, and as the following illustrations instruct, the facts and legal issues

raised in the NY State Court Action are entirely duplicative and inextricably intertwined with

those facts and legal matters at issue in the Pennsylvania State Court Action:

                  i.   The New York Complaint pleads damages based upon alleged breaches by
                       ETC of the Base Agreement and ITCs, all being contracts by and between
                       Debtor EM Energy (PA) and ETC, not Equity Owners. [Dkt. 1, Ex. A, ¶¶
                       92-95] Nevertheless, by the New York Complaint, Equity Owners seek to
                       adjudicate important and material rights, claims and liabilities of Debtor
                       EM Energy (PA) under the Base Agreement and the ITCs.

              ii.      The New York Complaint seeks adjudication of, among other things,
                       ETC’s compliance with the terms of its agreements with Debtor EM
                       Energy (PA) namely whether ETC constructed the Revolution System
                       pipeline according to required standards. [Dkt. 1, Ex. A, ¶ 47]

              iii.     The New York Complaint hinges on Equity Owners’ allegations that the
                       landslide that damaged the Revolution System was not a force majeure

31
     Id.
32
     Id. at ¶ 40.
33
     Id. at 47.



DOCS_NY:39229.1                                        6
               Case 19-50269-JTD           Doc 6      Filed 06/11/19      Page 12 of 25



                event, a critical—if not dispositive—issue in Debtor EM Energy (PA)’s
                litigation with ETC. [Dkt. 1, Ex. A, ¶ 63]

         iv.    The New York Complaint seeks a determination of whether statements
                and representations made to Debtor EM Energy (PA) (the same statements
                made to Equity Owners) were negligent.       Therefore, the New York
                Complaint seeks to adjudicate potential claims by estate of Debtor EM
                Energy (PA) against ETC. [Dkt. 1, Ex. A, ¶ 38] (“The Equity Owners and
                EdgeMarc pursued the Pennsylvania option after receiving assurances
                from Energy Transfer…”) (emphasis added). See also [Dkt. 1, Ex. A, ¶
                52] (“Gatherer shall deliver a notice…to Sponsors and Shipper [Debtor
                EM Energy (PA)]…”) (emphasis added).

          v.    Equity Owners plead that ETC has caused harm and damages to the
                Equity Owners and Debtor EM Energy (PA). See [Dkt. 1, Ex. A, ¶ 13].
                Equity Owners further plead that the alleged damages occurred because
                “EdgeMarc has been unable to satisfy the volume requirements of its ‘take
                or pay’ natural gas delivery contracts.” See [Dkt. 1, Ex. A, ¶ 13]. Lastly,
                Equity Owners plead that ETC “has damaged the value of the [Plaintiffs’]
                investment in EdgeMarc.” [Dkt. 1, Ex. A, ¶ 89]. Therefore, the claims
                pleaded are derivative of the rights of Debtor EM Energy (PA) under the
                Gathering and Processing Agreement, and alleged harm to the Debtor EM
                Energy (PA) and thus represent assets of the Debtors’ estates.

        Since the filing of the Delaware Bankruptcy Cases, the Equity Owners have continued to

press their claims against ETC in the New York State Court Action. Indeed on May 31, 2019, the

Equity Owners issued to ETC discovery, seeking, among other things, “all Documents and

Communications” concerning the “design, engineering, or construction of the Pipeline System”,

“the Pipeline Explosion”, and “the Force Majeure Notice.”

        D.      The Delaware Bankruptcy Cases

        On May 15, 2019 (the “Petition Date”), EdgeMarc, together with eight affiliated debtors

(each a “Debtor” and collectively, the “Debtors”)34 filed voluntary petitions for relief under

chapter 11 of the United States Bankruptcy Code in the Delaware Bankruptcy Court (the


34
 The Debtors in the jointly administered Delaware Bankruptcy Court cases are: EdgeMarc Energy Holdings, LLC,
EM Energy Manager, LLC, EM Energy Employer, LLC, EM Energy Ohio, LLC, EM Energy Pennsylvania, LLC,
EM Energy West Virginia, LLC, EM Energy Keystone, LLC, EM Energy Midstream Ohio, LLC, and EM Energy
Midstream Pennsylvania, LLC.



DOCS_NY:39229.1                                      7
                    Case 19-50269-JTD           Doc 6      Filed 06/11/19         Page 13 of 25



“Delaware Bankruptcy Cases”).35 The Debtors’ business is the exploration and production of

natural gas in the Appalachian Basin, concentrated in shale formations in Monroe and

Washington Counties in Ohio and Butler County in Pennsylvania.36

            The declaration of Callum Streeter, the Debtors’ CEO and member of the Board of

Managers of EdgeMarc, filed in support of the Debtors’ Chapter 11 Petitions and various first

day pleadings, attributes the Debtors’ need to commence bankruptcy proceedings to the

Revolution Event, the Debtors’ resulting “inability to sell gas from their Pennsylvania

properties” and the resulting “substantial negative impact on their liquidity and ability to satisfy

their funded debt, contractual and other payment obligations.”37 The Debtors purportedly

exercised their business judgment in opting to “shut in” their Pennsylvania wells and pause all

remaining Pennsylvania operations, because “the Debtors could not flow through ETC’s

Revolution System due to the Revolution Event and because ETC refused to gather the Debtors’

gas via other infrastructure, and because the Debtors had no other means of selling gas from the

affected wells.”38

            The Debtors intend to pursue a sale of all or substantially all their assets in the Delaware

Bankruptcy Cases.39A resolution of the disputes and claims related to the Revolution System is

critically material to the value of the Debtors’ estates and, thus, is subject to the core jurisdiction

of the Delaware Bankruptcy Court. Moreover, ETC should not be subjected to multiple cases



35
     See Voluntary Petition [BKC Dec. Ex. A]
36
     See First Day Declaration [BKC Dec. Ex. B, ¶ 5]
37
     Id. at ¶ 11.
38
   Id. at ¶ 9. The business judgment of the Debtors’ decision to shut in its own wells by terminating the ITCs is
questionable, at best. Rather than continuing to sell gas and generate revenue, terminating the ITCs, and shutting in
its wells appears to have served only the interests of its equity sponsors, that is, preservation of the claims brought
by the Equity Owners against ETC.
39
     Id. at ¶ 5.



DOCS_NY:39229.1                                           8
                 Case 19-50269-JTD      Doc 6    Filed 06/11/19     Page 14 of 25



related to the same factual scenario with the obvious possibility of inconsistent results and

resulting obligations.

                                         ARGUMENT

           The claims raised in the New York State Court Action are estate property and raise

several issues that are core proceedings in the Delaware Bankruptcy Cases. Accordingly, the

interests of justice strongly favor transfer to the District of Delaware. Transfer is further

warranted in the interests of justice and for the convenience of the parties because the Delaware

Bankruptcy Court is intimately familiar with the parties and the factual history, it would avoid

the risk of duplicative litigation and inconsistent results, and it would be convenient for all

parties.

           Alternatively, the controversy at hand is indisputably connected to the EdgeMarc

Bankruptcy. Thus, at a minimum, “related to” jurisdiction exists, and this case should be

transferred pursuant to 28 U.S.C. § 1404(a) for all of the same reasons (since the analysis for the

transfer of related-to proceedings under § 1404 does not materially differ from the analysis under

§ 1412).

I.         Transfer of the New York State Court Action to the Delaware Bankruptcy Court is
           Warranted Under 28 U.S.C. § 1412

           Because the New York State Court Action is a core bankruptcy proceeding under 28

U.S.C. § 157(b)(1) and (2), the case may be transferred to another district pursuant to 28 U.S.C.

§ 1412 “in the interest of justice or for the convenience of the parties.” 28 U.S.C. § 1412; In re

Iridium Operating LLC, 285 B.R. 822, 835 (S.D.N.Y. 2002). Matters “arising under” or “arising

in” bankruptcy cases are core proceedings. See 28 U.S.C. § 157(b)(1). The New York State

Court Action is within the Delaware Bankruptcy Court’s “core” jurisdiction within the meaning

of 28 U.S.C. § 157(b)(1) and (2), because it, inter alia: (i) seeks a determination of the value of



DOCS_NY:39229.1                                 9
                 Case 19-50269-JTD             Doc 6      Filed 06/11/19        Page 15 of 25



the Equity Owners’ interests in the Debtors; (ii) involves the resolution of bankruptcy estate

claims and/or counterclaims; (iii) affects the administration of the Debtors’ bankruptcy estates

and seeks to adjust the debtor-creditor and debtor-equity security holder relationships; and (iv)

affects the administration of the Debtors’ bankruptcy estates and the liquidation of the assets of

the estate. See 28 U.S.C. § 157(b)(2)(A)-(C), and (O).40

        Although a party seeking transfer under 28 U.S.C. § 1412 need satisfy only a

preponderance-of-the-evidence standard, Manville Forest Prods. Corp. (In re Manville Forest

Prods. Corp.), 896 F.2d 1384, 1390-91 (2d Cir. 1990) (internal citations and quotation omitted);

here, consideration of the interests of justice and the convenience of the parties overwhelmingly

support transfer to the Delaware Bankruptcy Court.

        As a general matter, “the district in which the underlying bankruptcy case is pending is

presumed to be the appropriate district for hearing and determination of a proceeding in

bankruptcy.” In re Manville Forest Prods., 896 F.2d at 1391; see also Hart v. Bello, No. 11 Civ.

67 (RMB), 2011 U.S. Dist. LEXIS 45471, at *7 (S.D.N.Y. Apr. 27, 2011). Indeed, “the interests

of justice and the public interest in centralization of bankruptcy proceedings weigh heavily in

favor of retaining [a core bankruptcy proceeding] where the underlying bankruptcy case is being

adjudicated.” In re Iridium Operating LLC, 285 B.R. at 837; see also Wyndham Assocs. v.

Bintliff, 398 F.2d 614, 619-20 (2d Cir. 1968) (noting the “strong policy favoring the litigation of

related claims in the same tribunal” in affirming transfer of a bankruptcy-related case).


40
   Specifically, resolution of the New York State Court Action will require a determination of whether the ITCs have
been properly terminated by Debtor EM Energy (PA), or alternatively, whether such contracts remain executory
contracts subject to assumption or rejection by the Debtors pursuant to 11 U.S.C. § 365. As the Debtors are
currently running a court supervised sale process before the Delaware Bankruptcy Court, any sale of the Debtors’
assets will likely require the assumption and assignment of the Gathering and Processing Agreement to a successful
buyer—especially as the Debtors acknowledged in the first day filings that they have at present “no other means of
selling the gas from the affected wells” absent access to ETC’s infrastructure. Aff. ¶ 9. Thus, the outcome of the
New York State Court Action litigation, namely, the attendant adjudication of alleged defaults, rights, claims and
terminations of such contracts, will undoubtedly impact the Debtors’ sale process.



DOCS_NY:39229.1                                         10
              Case 19-50269-JTD         Doc 6    Filed 06/11/19     Page 16 of 25



        A.     The Interests of Justice Mandate Transfer

        Under § 1412, courts consider six factors to determine whether transfer is in the interests

of justice:

               1) whether transfer would promote the economic and efficient
               administration of the bankruptcy estate; 2) whether the interests of
               judicial economy would be served by the transfer; 3) whether the
               parties would be able to receive a fair trial in each of the possible
               venues; 4) whether either forum has an interest in having the
               controversy decided within its borders; 5) whether the
               enforceability of any judgment would be affected by the transfer;
               and 6) whether the plaintiffs[‘] original choice of forum should be
               disturbed.

Enron Corp. v. Dynegy Inc. (In re Enron Corp.), No. 01-16034 (AJG), 2002 WL 32153911, at

*4 (Bankr. S.D.N.Y. Apr. 12, 2002).

               (1)     Transfer Promotes Economic and Efficient Administration of the
                       Bankruptcy Estates

        In examining the interests of justice, a principal consideration is the promotion of

efficiency and judicial economy, both of which are advanced when a bankruptcy proceeding is

transferred to the district in which a bankruptcy is or has been pending. See, e.g., Renaissance

Cosmetics, Inc. v. Dev. Specialists Inc., 277 B.R. 5, 19 (S.D.N.Y. 2002) (where bankruptcy was

pending in the District of Delaware, and where the Delaware court was “intimately familiar with

the parties and the factual history,” transfer to the District of Delaware appropriate); Adelphia

Recovery Trust v. Bank of Am., N.A., No. 05 Civ. 9050 (LMM), 2009 U.S. Dist. LEXIS 39373, at

*33-34 (S.D.N.Y. Mar. 5, 2009) (finding it “inefficient” to preside over bankruptcy-related

claims where a bankruptcy court in another district was more familiar with the relevant facts,

law, and procedural background).

        Transfer pursuant to 28 U.S.C. § 1412 is particularly appropriate when a proceeding

involves “issues virtually identical” to those that have been or will be considered by a



DOCS_NY:39229.1                                 11
                Case 19-50269-JTD            Doc 6      Filed 06/11/19       Page 17 of 25



bankruptcy court. In re Manville Forest Prods., 896 F.2d at 1391 (internal quotation marks

omitted); Burns v. Grupo Mex. S.A. de C.V., No. 07 Civ. 3496 (WHP), 2007 U.S. Dist. LEXIS

84514, at *16 (S.D.N.Y. Nov. 16, 2007) (transferring bankruptcy-related case where the

transferee court “ha[d] already spent significant time” on nearly identical issues); see also Dahl

v. HEM Pharm. Corp., 867 F. Supp. 194, 197 (S.D.N.Y. 1994) (“[I]t would be a patent misuse of

judicial resources” to require another court “to review and become familiar with the facts and

circumstances already extensively excavated by another Federal District Court.”).

        Here, transferring the New York State Court Action—as well as the Pennsylvania State

Court Action41—to the District of Delaware will eliminate the need for yet another court to

devote significant resources to understanding the detailed interwoven factual history surrounding

both pending state court cases, as these identical legal and factual issues will need to be

conclusively determined by the Delaware Bankruptcy Court during the course of the Delaware

Bankruptcy cases. To be sure, transferring this action to the District of Delaware Bankruptcy

Court would, inter alia, conserve resources by avoiding the substantial investment of time and

energy that would be required for two courts to learn the storied set of facts underlying this

dispute including facts related to: EdgeMarc’s equity funding and credit facilities; extensive

negotiations related to the Base Agreement and ITCs; the Revolution System force majeure

event; whether the Gathering and Processing Agreement has been terminated or is an active

executory contract capable of being assumed and assigned in a sale process; and the Debtors’

decision to file a chapter 11 petition.

        No party can dispute that the factual issues concerning access to the Revolution

Gathering System are material to the value of the Debtors’ estates and crucial to maximizing

41
 ETC has filed a Notice of Removal of the Pennsylvania State Court Action, and will be filing an accompanying
Motion to Transfer Venue to the Delaware Bankruptcy Court.



DOCS_NY:39229.1                                       12
              Case 19-50269-JTD           Doc 6    Filed 06/11/19   Page 18 of 25



value in a sale process. As such, they are central to the jurisdiction of the Delaware Bankruptcy

Court, which is also the court best situated to economically and efficiently manage the scope of

the litigation and ensure optimal value to the Debtors’ estates. For these reasons, transfer

pursuant to 28 U.S.C. § 1412 is proper.

               (2)    Transfer Avoids the Risk of Duplicative Litigation and Inconsistent
                      Results

       Transfer pursuant to 28 U.S.C. § 1412 is also appropriate in the interests of judicial

economy because it avoids the risk of duplicative litigation. This is so because adjudicating the

competing claims related to performance under the Base Agreement and ITCs in the Debtors’

Bankruptcy Cases will almost certainly involve issues that will likewise need to be decided in

this action including whether (i) ETC and EdgeMarc performed under the agreements; and (ii) a

force majeure event occurred.

       Where adjudicating a case poses a risk of duplicative or overlapping litigation, courts

regularly find transfer warranted in the interests of justice. See, e.g., Wyndham Assocs., 398 F.2d

at 619-20 (avoiding potentially duplicative litigation supports transfer); Burns, 2007 U.S. Dist.

LEXIS 84514, at *15-16 (same). This is especially true where there is a possibility that, absent

transfer, courts may issue inconsistent or conflicting rulings. See Burns, 2007 U.S. Dist. LEXIS

84514, at *15-16; APA Excelsior III L.P. v. Premiere Techs., Inc., 49 F. Supp. 2d 664, 670

(S.D.N.Y. 1999).

       Here, the New York State Court Action—which alleges breach of contract, unjust

enrichment, and negligent misrepresentation—will require a court to determine whether ETC or

EdgeMarc breached the terms of the Base Agreement and ITCs and whether a force majeure

event occurred. The Delaware Bankruptcy Court will need to make an identical determination in

adjudicating whether ETC’s claims against EdgeMarc are viable and how they should be treated



DOCS_NY:39229.1                                   13
               Case 19-50269-JTD         Doc 6     Filed 06/11/19     Page 19 of 25



as part of a plan of reorganization. Absent transfer, there is a material risk of inconsistent rulings

and overlapping litigation. This independently counsels strongly in favor of transfer. E.g., APA

Excelsior III, 49 F. Supp. 2d at 670 (transfer appropriate in the interests of justice where a related

action “hinge[d] on the same core of operative facts” and transfer would “avoid[ ] duplicative

litigation and the risk of inconsistent rulings”); see also Nat’l Union Fire Ins. Co. of Pittsburgh,

Pa. v. Turtur, 743 F. Supp. 260, 263-64 (S.D.N.Y. 1990) (“[A]s a general proposition, cases

should be transferred to the district where related actions are pending.”) (citation and internal

quotation marks omitted).

               (3)     The Parties Will Receive a Fair Trial in Either Court, but Equity
                       Owners Choice of Forum Should Not Be Accorded Deference

       The parties almost certainly would receive a fair trial in this District or the Delaware

Bankruptcy Court. ETC should not, however, be required to litigate identical issues in New

York State Court and the Delaware Bankruptcy Court and potentially the Pennsylvania State

Court should that case not be transferred. Fairness dictates that the trial should take place in the

Delaware Bankruptcy Court.

               (4)     The Delaware Bankruptcy Court Has an Interest in Determining the
                       Subject Controversy

       It is indisputable that the two main parties to the subject controversy are EdgeMarc and

ETC. It is also irrefutable that the District of Delaware has an interest in determining the

controversy, as it is the venue for EdgeMarc’s bankruptcy. On the other hand, this District has

no real tie to the controversy. Where, as here, a proceeding arising under title 11 is brought in a

district other than the district in which the underlying bankruptcy case is or has been pending,

“[t]he weight normally attached to the plaintiff’s choice of forum is effectively cancelled out.”

Hart, 2011 U.S. Dist. LEXIS 45471, at *17. Moreover, when a plaintiff’s selected forum is not

where the plaintiff resides, “the degree of deference given to plaintiff’s choice of forum depends


DOCS_NY:39229.1                                  14
              Case 19-50269-JTD        Doc 6     Filed 06/11/19    Page 20 of 25



on the motivations behind that choice” – with “diminishing deference” given to a plaintiff’s

choice of a non-home forum that “was motivated by tactical advantage, such as forum

shopping.” Renaissance Cosmetics, 277 B.R. at 18, 20 (citation and internal quotation marks

omitted) (transferring case where the plaintiff’s choice of forum appeared to be motivated by the

“desire to avoid the Delaware Bankruptcy Court, which previously found” unfavorably toward

it).

               (5)    Transfer Will Not Affect Any Judgment

       All three proceedings are in relative infancy, with the Pennsylvania State Court litigation

having commenced in February 2019 and the New York State Court Action and EdgeMarc

Bankruptcy having been filed only weeks ago. The parties are nowhere near judgment, and

transfer of this proceeding will have no impact on any judgment or delay resolution of the cases.

               (6)    The Plaintiff’s Original Choice of Forum Should Be Disturbed

       There can be no serious question that the Equity Owners engaged in forum shopping

when they carefully crafted a complaint which strategically omitted the Debtor one day prior to

its bankruptcy filing. Accordingly, the plaintiffs’ choice of forum should not be afforded

deference. Iragorri v. United Techs. Corp., 274 F.3d 65, 72 (2d Cir. 2001) (en banc) (the more a

plaintiff’s choice of forum is motivated by forum-shopping, “the less deference the plaintiff’s

choice commands”). It is worth noting that at least two of EdgeMarc’s board members are

indirectly related to the Equity Owners as Goldman Sachs employees. Both directors voted in

favor of filing the chapter 11 petition in the Delaware Bankruptcy Court. Consequently, the

Plaintiff’s choice of forum in New York richly deserves to be disturbed.




DOCS_NY:39229.1                                15
                   Case 19-50269-JTD            Doc 6      Filed 06/11/19         Page 21 of 25



           B.      The Convenience of the Parties Favors Transfer

           The convenience of the parties likewise favors transfer to the Delaware Bankruptcy

Court.42 Courts have considered the following additional factors to determine whether transfer is

convenient for the parties:

                   7) the location of the plaintiff and the defendant; 8) the ease of
                   access to the necessary proof; 9) the convenience of the witnesses
                   and the parties and their relative physical and financial condition;
                   10) the availability of the subpoena power for unwilling witnesses;
                   and 11) the expense of obtaining unwilling witnesses.

Enron Corp., 2002 WL 32153911, at *4.

                   (7)      The Location of Plaintiff and Defendant Has Little Bearing on
                            Convenience for Both Parties

           Both the Equity Owners and ETC have significant resources and access to counsel. In

fact, all of the parties to the State Court Action are Delaware limited liability companies.43 In

contrast, only three of the Equity Owners maintain their principal place of business in New York

County. The Equity Owners have been active participants in the EdgeMarc Bankruptcy in the

District of Delaware appearing through local counsel Drinker Biddle & Reath LLP on May 15,

2019, appearing through counsel at the First Day hearing on May 16, 2019, and appearing

through the New York State Court Action counsel, Wachtell, Lipton, Rosen & Katz pro hac vice

on May 20, 2019.44 None of the Equity Owners would be inconvenienced by transfer to that

court. E.g., Renaissance Cosmetics, 277 B.R. at 19 (granting defendants’ motion to transfer




42
   Under 28 U.S.C. § 1412, transfer may be appropriate either “in the interest of justice or for the convenience of the
parties.” 28 U.S.C. § 1412 (emphasis added); see Enron Corp. v. Arora (In re Enron Corp.), 317 B.R. 629, 637
(Bankr. S.D.N.Y. 2004 (“transferability pursuant to [section] 1412 is an either-or-test, not a two-fold one”) (citation
and internal quotation marks omitted).
43
     See New York Complaint [Dkt. 1, Ex. A, ¶¶ 15-21].
44
     See Delaware Bankruptcy Court Docket Nos. 34, 51, and 72-74 [BKC Dec., Ex. D-H].



DOCS_NY:39229.1                                          16
                Case 19-50269-JTD        Doc 6    Filed 06/11/19      Page 22 of 25



where “parties are large, national professional firms who would not be seriously inconvenienced

if required to travel to Delaware”).

                 (8)    Necessary Proof if Easily Accessible in the Delaware Bankruptcy
                        Court

          The Base Agreement and ITCs relate to operations exclusively in western Pennsylvania

and the necessary proof is just as easily accessible in the Delaware Bankruptcy Court.

Maintaining this matter in New York would offer no advantage for purposes of access to the

proofs.

                 (9)    The Convenience of the Witnesses and the Parties Favors Transfer to
                        the Delaware Bankruptcy Court

          The witnesses for each of the three proceedings are likely to be the same and should not

be forced to provide testimony in three separate fora. “[T]he presence of all litigation in one

district . . . , in the aggregate, further[s] the convenience of the parties.” Burns, 2007 U.S. Dist.

LEXIS 84514, at *17. By transferring this action to the Delaware Bankruptcy Court, where the

EdgeMarc Bankruptcy is pending and the closely related claims will be resolved, this Court thus

would not only promote judicial economy and avoid the prospect of duplicative litigation and

inconsistent results – it would make this action more convenient for all parties. This too supports

transfer under 28 U.S.C. § 1412. Id.

                 (10) - (11)   The Subpoena Power and Expense of Obtaining Unwilling
                               Witnesses Are No Greater in Either Forum

          Resolution of this dispute in this District as opposed to the Delaware Bankruptcy Court

offers no greater subpoena power and therefore no advantage.            Moreover, the expense of

obtaining unwilling witnesses will be equal here or in the Delaware Bankruptcy Court. These

considerations are neutral and therefore of no benefit to plaintiff or defendant.




DOCS_NY:39229.1                                  17
                Case 19-50269-JTD            Doc 6      Filed 06/11/19       Page 23 of 25



        All factors being considered together dictates that the Delaware Bankruptcy Court is the

more convenient forum for all parties. This case should be transferred pursuant to 28 U.S.C. §

1412.

II.     Alternatively, Transfer of the New York State Court Action to the Delaware
        Bankruptcy Court is Warranted Under 28 U.S.C. § 1404(a)

        Alternatively, and for all the foregoing reasons, transfer to the Delaware District Court is

likewise appropriate under 28 U.S.C. § 1404(a).45                 Section 1404(a) provides, “[f]or the

convenience of parties and witnesses, in the interest of justice, a district court may transfer any

civil action to any other district or division where it might have been brought.” 28 U.S.C. §

1404(a). In determining whether to transfer venue pursuant to Section 1404(a), district courts

engage in the following two-part inquiry: (1) whether the action might have been brought in the

proposed forum; and (2) whether the transfer promotes convenience and fairness. Forjone v.

California, 425 Fed. Appx. 73, 74 (2d Cir. 2011). The decision of whether to transfer venue is

left to the sound discretion of the trial court. Id.

        The New York State Court Action could have been brought in the Delaware Bankruptcy

Court since that is the location of the EdgeMarc and EM Energy (PA) jointly administered

bankruptcies. See 28 U.S.C. § 1409(a) (“a proceeding arising under title 11 or arising in or

related to a case under title 11 may be commenced in the district court in which such case is

pending”); 28 U.S.C. § 1334(b) (a bankruptcy court has subject matter jurisdiction over all

matters “arising in or related to cases under title 11”). The Equity Owners own approximately

99% of the equity in EdgeMarc, are Delaware limited liability companies, and have participated

45
   Where a party seeks to transfer venue for a core proceeding, the applicable statute is 28 U.S.C. § 1412,” the
bankruptcy change of venue statute, see Official Comm. of Asbestos Claimants of G–I Holding, Inc. v. Heyman, 306
B.R. 746, 749 (S.D.N.Y. 2004), whereas “[t]ransfer of venue for noncore proceedings is governed by 28 U.S.C. §
1404(a),” the general change of venue statute, ICICI Bank Ltd.v. Essar Glob. Fund Ltd., 565 B.R. 241, 248
(S.D.N.Y. 2017). There is no need here to determine whether the New York State Court Action Claims are core or
non-core because transfer is warranted under either statute.



DOCS_NY:39229.1                                        18
                 Case 19-50269-JTD        Doc 6    Filed 06/11/19    Page 24 of 25



in the Delaware Bankruptcy cases. Therefore, the Delaware Bankruptcy Court has personal

jurisdiction over the Equity Owners.

           In evaluating convenience and fairness, courts may consider the following factors: “(1)

the plaintiff’s choice of forum; (2) the convenience of witnesses; (3) the location of relevant

documents and relative ease of access to sources of proof; (4) the convenience of parties; (5) the

locus of operative facts; (6) the availability of process to compel attendance of unwilling

witnesses; and (7) the relative means of the parties.” Fteja v. Facebook, Inc., 841 F. Supp. 2d

829, 832 (SDNY 2012). As further discussed in Section I above, consideration of convenience

and fairness dictate that the New York State Court Action, as well as the Pennsylvania State

Court Action, should be transferred to the Delaware Bankruptcy Court.

           Likewise, and again as more fully detailed in Section I above, judicial economy, timely

resolution, and consistency in rulings also favor transfer. The New York State Court Action is

closely related to a complex bankruptcy matter that is currently pending before the Delaware

Bankruptcy Court. Thus, that court is and will continue to be well versed in these issues. Indeed,

a transfer to the Delaware Bankruptcy Court will most likely lead to a more expedient resolution

of this matter and would obviate the need for another court to learn the intricacies surrounding a

bankruptcy proceeding geared toward a fast-track sale. For these reasons, the transfer of the

New York State Court Action to the Delaware Bankruptcy Court is warranted.

                                          CONCLUSION

           The Equity Owners entirely derive their claims from EdgeMarc, a debtor-in-possession in

the Delaware Bankruptcy Court.         Such claims are property of the estate and raise issues

comprising core matters under 28 U.S.C. § 157 and, pursuant to 28 U.S.C. § 1412, should be

adjudicated by the Delaware Bankruptcy Court in the interest of justice and convenience of the

parties.      Alternatively, those claims are inextricably related to EdgeMarc’s bankruptcy


DOCS_NY:39229.1                                   19
              Case 19-50269-JTD         Doc 6     Filed 06/11/19     Page 25 of 25



proceeding and under 28 U.S.C. § 1404(a) must be transferred to the Delaware Bankruptcy

Court. The interests of justice and the convenience of the parties are best served by transfer.

Dated: June 11, 2019                      PACHULSKI STANG ZIEHL & JONES LLP

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DOCS_NY:39229.1                                 20
